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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK

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                                         :
PDV USA, INC.,                           :
                                         :
                                                             Case No. 20-cv-3699
             Plaintiff,                  :
                                         :
                                                             FED. R. CIV. P. 7.1
 v.                                      :
                                                             CORPORATE
                                         :
                                                             DISCLOSURE STATEMENT
INTERAMERICAN CONSULTING INC.,           :
                                         :
             Defendant.                  :
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              Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff PDV USA,

Inc. (“PDV USA”) hereby discloses that it is wholly-owned by PDV Holding, Inc. and that no

publicly-held corporation owns a 10 percent or greater interest in PDV USA.


Dated: New York, New York
       May 13, 2020

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